               Case 18-14821-LMI        Doc 26    Filed 06/07/18        Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI-DADE DIVISION

 In re:
 WILL ZAMORA                                          Case No.: 18-14821-BKC-LMI
 SSN XXX.XX.9623                                      Chapter 13
        Debtor.
 ____________________________________/

DEBTOR’S MOTION FOR PROTECTIVE ORDER AND OBJECTION TO SUBPOENA
ISSUED TO EQUITYMAX, LLC TO PRODUCE DOCUMENTS, INFORMATION, OR
OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A BANRKUTPCY CASE
                  (OR ADVERSARY PROCEEDING)

       Debtor, WILL ZAMORA, by and through undersigned counsel, hereby files this Motion

for Protective Order and Objection to Subpoena Issued to EquityMax, LLC to Produce

Documents, Information, or Objects or to Permit Inspection of Premises in a Bankruptcy Case

(or Adversary Proceeding), and avers in support thereof the following:

       1.      This case was filed as a Chapter 13 on April 25, 2018.

       2.      On May 30, 2018 the Debtor filed a Notice of Voluntary Dismissal with Prejudice

pursuant to 11 U.S.C. § 1307, see ECF 19.

       3.      Creditor, Timothy Mosley filed an Emergency Objection to Notice of Voluntary

Dismissal and Motion to Convert Case to Chapter 7, see ECF 20. The Court has set this matter

to be heard on July 17, 2018 at 9:00 a.m.

       4.      Thereafter, on June 1, 2018 Creditor, Timothy Mosley, unilaterally scheduled a

Notice of Taking Rule 2004 Examination Duces Tecum of Debtor on July 9, 2018, see ECF 22.

On June 4, 2018 the Debtor issued to EquityMax, LLC a Subpoena to Produce Documents,

Information, or Objects or to Permit Inspection of Premises in a Bankruptcy case (or Adversary

Proceeding), see ECF 23.
               Case 18-14821-LMI         Doc 26     Filed 06/07/18     Page 2 of 3
Page 2.                                                                             In re Zamora, Will
                                                                         Case No. 18-14821-BKC-LMI

          5.   Debtor’s Counsel is not available on this date due to a previously scheduled

vacation with her family. Debtor’s Counsel will not be available until the later part of July,

2018.

          6.   Debtor and his family upon vacating Creditor, Timothy Mosley’s residence

departed Miami, Florida and are now residing in Puerto Rico. Due to the issues revolving

around the relocation of his family and other work and family commitments previously in place

the Debtor will not be available to until after August 1, 2018.

          7.   Furthermore, Debtor respectfully requests that the hearing scheduled for July 17,

2018 on the Objection to Notice of Voluntary Dismissal with Prejudice and Motion to Convert

Case to Chapter 7 be heard prior to the scheduling of a 2004 Examination. As the Debtor no

longer resides in the State of Florida travel time and costs are considerable and burdensome on

the Debtor, his family and his employment. No detrimental harm or loss will come to any of the

parties involved in the matter by delaying the 2004 until adjudication by this Court on the

Debtor’s Notice of Voluntary Dismissal and the objection to same filed by Creditor, Timothy

Mosley.

          8.   Undersigned counsel hereby seeks a court order protecting the Debtor from

having to attend a Rule 2004 Examination Duces Tecum where Creditor, Timothy Mosley seeks

to depose the Debtor and from staying compliance by EquityMax, LLC as to the Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a

Bankruptcy case (or Adversary Proceeding) issued to them.

          9.   Pursuant to Local Rules 2004-1(c) and 7030-2 the deposition of the Debtor shall

be stayed until the court rules on this Motion.
                   Case 18-14821-LMI              Doc 26     Filed 06/07/18       Page 3 of 3
Page 3.                                                                                        In re Zamora, Will
                                                                                    Case No. 18-14821-BKC-LMI

          WHEREFORE, the Debtor seeks the relief sought in this motion and for any other relief

deemed just and proper in the circumstances.


                                 CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and correct copy of the foregoing was sent, via ECF
and E-mail, this 7th day of June, 2018 to all parties listed below.


G. Steven Fender, Esq.                             Nancy K. Neidich, Esq.
Steven Fender PA                                   Standing Chapter 13 Trustee
Attorney for Creditor, Timothy Mosley              Via ECF
PO BOX 1545
Ft. Lauderdale, Fl. 33302                          Office of the US Trustee
Steven.fender@yahoo.com                            Via ECF



                                                            SANDRA NAVARRO-GARCIA, P.A.
             CERTIFICATE PURSUANT TO                        Counsel for the Debtor
               LOCAL RULE 9011-4(B)                         7951 SW 40th Street, Suite 202
                                                            Miami, Florida 33155
               I HEREBY CERTIFY that I am                   SANDRA@SNGLAW.NET
          admitted to the Bar of the United States          Telephone: 305-264-7500 ▪ Facsimile: 305-264-7582
          District Court for the Southern District of
          Florida and I am in compliance with the
          additional qualifications to practice in
                                                            /s/ Sandra Navarro-Garcia___________
          this Court set forth in Local Rule 2090-
          1(A).                                             Sandra Navarro-Garcia, Esq., FBN 188735
